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August 3, 2018

Lieutenant J ames Gordon
Lorain County Sheriff"s Ot`fice
9896 Murray Ridge Road
Elyria, Ohio 44035

RE: Steven Conley videos

Dear Lieutenant Gordon:

We appreciate your Wn`tten response regarding the videos, and lack thereof, of Steven Conley
While he Was in the Lorain County Jail on 01/30/2018. We understand that there rnay be only one
video of the incident. However, We take issue With the fact that Whoever provided the video,
chose to stop it When they did and therefore, did not provide us with a complete video. We are
seeking the complete Video of this incident Clearly, the assault on our client continued on past
the point at Which the video was stopped Please provide the entire video recording of this
incident._ If_We_ do not receive the complete video, We will have no choice to but to pursue a claim
against the Lorain County Sheriff’ s Oftiee for spoliation of evidence We look forward to your
response. -

S inc erely,

Sa;ra Gedeon, Esq.

Malik Law

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